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  6

  7
                                UNITED STATES BANKRUPTCY COURT
  8
                                 NORTHER DISTRICT OF CALIFORNIA
  9
                                      SAN FRANCISCO DIVISION
 10

  11
       In re:                                         CASE NO.16-30063
 12
       YELLOW CAB COOPERATIVE, INC.,                  Chapter 11
 13
                             Debtor                   NOTICE OF WITHDRAWAL OF CLAIM
 14                                                   NO. 395
 15

 16

 17

 18             Claimant ANTHONY PETRILLO hereby withdraws his claim in this matter (Claim
 19    Number 395).
 20

 21                                              THE LAW OFFICES OF JOHN P. STROUSS, III
 22

 23    Dated 11/30/18                            By: /s/ John P. Strouss, III
                                                 JOHN P. STROUSS, III
 24                                              Attorney for Claimant ANTHONY PETRILLO
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                                NOTICE OF WITHDRAWAL OF CLAIM
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